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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                            RESPONDENT

v.                                       No. 1:11-cr-40009-002
                                           No. 1:13-cv-4003
REBECCA MILLER                                                                            MOVANT

               MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

       Before the Court is the Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

U.S.C. § 2255 (ECF No. 125) filed herein by REBECCA MILLER, (hereinafter referred to as

“Miller”) an inmate confined at the Bryan Federal Prison Camp, Bryan, Texas. The Motion was

referred for findings of fact, conclusions of law and recommendations for the disposition of the case.

The United States of America (hereinafter referred to as the “Government”) has responded to the

Motion. ECF No. 130. The Court has considered the entire record and the matter is ready for

decision.

I. Procedural Background:

       Miller was arrested on February 25, 2011, on a warrant issued as a result of an Indictment

charging her with four counts of violation of Federal drug trafficking laws. The Indictment was

returned by the Grand Jury for the Western District of Arkansas on February 24, 2011. ECF No. 4.

Count One charged three co-defendants, Miller, her husband Daniel Miller, and Charles Cook with

conspiracy to distribute 500 grams or more of methamphetamine as early as 2004 and continuing

through 2010. ECF No. 4, Pg. 1-2. Count Two charged Miller and co-defendant Daniel Miller with

aiding and abetting in the distribution of more than five (5) grams of actual methamphetamine on

October 8, 2010. ECF No. 4, Pg. 2. Count Four charged Miller and co-defendant Daniel Miller with



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aiding and abetting in the distribution of more than five (5) grams of actual methamphetamine on

October 21, 2010. Id. Count Five charged Miller and co-defendant Daniel Miller with aiding and

abetting in the distribution of more than five (5) grams of actual methamphetamine on December 2,

2010. ECF No. 4. Pgs. 2-3.

       On February 25, 2011, Miller appeared for her initial appearance and arraignment. ECF No.

13. The Court appointed Jeff Harrelson of the Court’s Criminal Justice Act panel as counsel. ECF

No. 13 and 14. Miller entered a not guilty plea to all counts. ECF No. 13. Miller was released on

bond and conditions pending trial. ECF No. 13 and 16. Trial was scheduled for April 28, 2011.

ECF No. 17. The trial date was later continued to May 23, 2011. ECF No. 32.

       A jury trial was held, before Untied States District Judge Harry F. Barnes on May 23-25,

2011, for Daniel Miller and Rebecca Miller.1 ECF No. 40-42. Following the trial, the jury returned

a verdict of guilty against Miller in Counts Two, Four, and Five of the Indictment.2 ECF No. 44.

As to Count One, the jury found Miller guilty of a lesser included offense of conspiracy to distribute

more than 50 (rather than more than 500) grams of methamphetamine. ECF No. 44. The jury also

found in favor of the Government on the Forfeiture Count of the Indictment. ECF No. 45. Judge

Barnes directed a Pre-sentence Report (“PSR”) be prepared by the United States Probation Office.

       The United States Probation Office prepared a PSR. ECF No. 54 (filed under seal). Miller,

through counsel, filed a Sentencing Memorandum on November 23, 2011. ECF No. 52. The

Sentencing Memorandum contained various objections to the PSR. Id. On December 1, 2011,


              1
              Charles Cook waived indictment and pled guilty to an information on May 23, 2011, charging
      him with Misprision of a Felony. See U.S. v. Cook, No. 4:11-cr-40015. He was later sentenced to
      twenty-one (21) months imprisonment and the charges against him in the indictment were dismissed.
              2
              Mr. Miller was found guilty by the jury of all five counts in the Indictment and sentenced to 360
      months imprisonment.

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Miller appeared before Judge Barnes for sentencing. ECF No. 53. After considering both the

Government’s and Miller’s objections to the PSR, Judge Barnes found a total offense level of 36 for

each of the four counts of conviction. Further, Miller’s criminal history category was determined

to be I. These findings resulted in a United States Sentencing Guideline (USSG) recommended

sentence of 188-235.

          Thereafter, Judge Barnes sentenced Miller to a term of imprisonment of 188 months for each

of the four counts of conviction (all sentences to run concurrently with each other), imposed a four

year term of supervised release, denial of federal benefits for five years, and a $100.00 special

assessment per count of conviction. ECF No. 53. The Court did not impose a fine. The Judgment

was entered on December 6, 2011. ECF No. 61. On December 14, 2011, Miller, through counsel,

filed a notice of appeal. ECF No. 68. Miller was represented by different appellant counsel. ECF

No. 70.

          On October 31, 2012, the United States Court of Appeals for the Eighth Circuit affirmed the

conviction but remanded Miller’s case to the trial court for re-sentencing. See United States v.

Miller, 698 F.3d 699, 710 (8th Cir. 2012), cert. denied, 133 S.Ct. 1296 (2013). On remand, the

Parties stipulated Miller was accountable only for the drug quantities from three controlled

purchases, which resulted in a base offense level of 30 under the USSG. ECF No. 110, Pg. 4. The

Parties also stipulated to a two-level enhancement for maintaining a drug premises and that her total

offense level should be 32. ECF No. 110, Pg. 4. With a criminal history category of I, this yielded

a guideline sentence range of 121-151 months. Finally the Parties stipulated a 120 month sentence

was “fair.” ECF No. 110, p. 5. On re-sentencing Judge Barnes departed downward slightly from the

USSG recommended sentence and imposed the stipulated sentence of 120 months imprisonment on



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each count to be served conconrrently. ECF No. 95.

       Miller appealed her Amended Sentence pursuant to Anders v. California, 386 U.S. 738

(1967). On September 25, 2013, the Eighth Circuit, after reviewing the record, found the sentence

was not unreasonable and presented no non-frivolous issues for review. See United States v. Miller,

530 F. App’x 613 (8th Cir. 2013). Miller did not seek further direct review.

II. Instant Petition:

       Miller filed a timely Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §2255

on January 8, 2014. ECF No. 125. In her Motion, Miller asserts the following five claims for relief:

       a. Trial counsel was ineffective for requesting a lessor included offense instruction
       at trial regarding Count One;

       b. The lesser included offense instruction was a constructive amendment to the
       indictment which prejudiced Miller at trial;

       c. The Trial Court violated the holding of Alleyne v. United States by giving a lessor
       included offense instruction thereby changing the statutory sentence range without
       due process;

       d. The Trial Court lacked jurisdiction to impose a two-level enhancement, based on
       Miller’s maintaining a drug premises;

       e. The Trial Court violated 18 U.S.C. § 3553 when it imposed a sentence greater than
       necessary, primarily by imposing a two-level enhancement for maintaining a drug
       premises.

As noted above, the Government has filed its Response to the Motion and requests denial of all

claims. ECF No. 130.

III. Discussion:

       A § 2255 motion is fundamentally different from a direct appeal. The Court will not

reconsider an issue, which was decided on direct appeal, in a motion to vacate pursuant to § 2255.

See United States v. Davis, 406 F.3d 505, 511 (8th Cir. 2005); Dall v. United States, 957 F.2d 571,

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572 (8th Cir.1992) ( “Claims which were raised and decided on direct appeal cannot be relitigated on

a motion to vacate pursuant to 28 U.S.C. § 2255 .”). “Relief under 28 U.S.C. § 2255 is reserved for

transgressions of constitutional rights and for a narrow range of injuries that could not have been

raised on direct appeal and, if uncorrected, would result in a complete miscarriage of justice.” United

States v. Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996).

       Section 2255 allows for relief from a sentence on four grounds: (1) the sentence was imposed

in violation of the Constitution or laws of the United States, (2) the court lacked jurisdiction to

impose such sentence, (3) the sentence was in excess of the maximum authorized by law, or (4) the

sentence is otherwise subject to collateral attack. See 28 U.S.C. § 2255(a). A motion pursuant to

§ 2255 may not be used as “a substitute for appeal or for the purpose of litigating matters not raised

on appeal.” Craig v. United States, 376 F.2d 1009, 1011 (8th Cir. 1967).

       a. Ineffective Assistance of Counsel: Miller claims her trial counsel was ineffective in

requesting a lesser included offense instruction and by not objecting to the Trial Court’s lesser

included offense instruction for Count One of the Indictment. Miller also claims the lesser included

offense instruction constructively amended the Indictment by changing the drug quantity charged,

this claim is discussed in separate section of this Report and Recommendation.

       In order to prevail on an ineffective assistance of counsel claim, a movant must show (1) her

“trial counsel's performance was so deficient as to fall below an objective standard of reasonable

competence”; and (2) “the deficient performance prejudiced [her] defense.” See Toledo v. United

States, 581 F.3d 678, 680 (8th Cir. 2009)(quoting Nave v. Delo, 62 F.3d 1024, 1035 (8th Cir.1995)).

When considering the first element, there is a “strong presumption that counsel’s conduct falls within

the wide range of professionally reasonable assistance and sound trial strategy.” Toledo, 581 F.3d



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at 680 (quoting Garrett v. United States, 78 F.3d 1296, 1301 (8th Cir.1996) (citing Strickland v.

Washington, 466 U.S. 668, 689,(1984)). “The burden of proving ineffective assistance of counsel

rests with the defendant.” United States v. White, 341 F.3d 673, 678 (8th Cir. 2003)(citing United

States v Cronic, 466 U.S. 648, 658 (1984)).

       In testing the first element of an ineffective assistance of counsel claim, counsel’s alleged

deficient performance, when a defendant complains that counsel failed to challenge the state’s case,

“The failure to oppose the prosecution's case must involve the entire proceeding, not just isolated

portions.” White, 341 F.3d at 678. Except in instances where a defendant can show a failure of such

magnitude there is typically no basis for finding a denial of effective counsel unless he can show

specific errors that “undermined the reliability of the finding of guilt. . .” Id. If the Court finds

deficient counsel and thus considers the element of prejudice, a defendant must establish “but for

counsel's unprofessional errors, the result of the proceeding would have been different.” Strickland,

466 U.S. at 694. The Court should not consider the cumulative effect of alleged errors by counsel.

See Middleton v. Roper, 455 F.3d 838, 851 (8th Cir. 2006). Further, “strategic choices made [by

counsel] made after thorough investigation of law and facts relevant to plausible options are virtually

unchallengeable.” Strickland, 466 U.S. at 690, 104 S.Ct. at 2066.

       Here, Miller claims her trial counsel was ineffective because he requested a lesser included

offense instruction which resulted in a constructive amendment of the indictment. The transcript of

the trial in this case does show specifically who requested the lesser included offense instruction.

There is no question however the Trial Court gave such an instruction regarding Miller’s possible

culpability in Count One of the Indictment. While it is not clear who requested the instruction, for

purposes of this claim, I will assume trial counsel requested the instruction on a lesser included



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offense. The Court’s instruction to the Jury regarding the original charge in Count One and the lesser

included offense instruction were as follows:

       Under Count 1, the Indictment charges that the defendants, as least as early as 2004
       and continuing until or on or about December 2010, Daniel Miller and Rebecca
       Miller committed the offense of conspiracy to distribute 500 grams or more of a
       mixture or substance containing a detectable amount of methamphetamine.
       ...
       Count 1 of the Indictment charges that the Defendants, Daniel Miller and Rebecca
       Miller, committed the crime of conspiracy to distribute 500 grams or more of a
       mixture or substance containing a detectable amount of methamphetamine. The crime
       of conspiracy to distribute 500 grams or more of a mixture or substance containing
       a detectable amount of methamphetamine, as charged in Count 1 of the Indictment
       has four essential elements which are:
       ...
       Four: The agreement or understanding involved 500 grams or more of a mixture or
       substance containing a detectable amount of methamphetamine, a Schedule II
       controlled substance.

       If you find these four elements unanimously and beyond a reasonable doubt, then you
       must find the defendant guilty of the crime of conspiracy to distribute 500 grams or
       more of a mixture or substance containing a detectable amount of methamphetamine,
       a Schedule II controlled substance. Record your determination on the verdict form
       which will be submitted to you with these instructions.

       If you do not find the defendant guilty of this crime under Count 1, go on to consider
       whether the defendant conspired to distribute 500 [sic] grams or more of a mixture
       or substance containing a detectable amount of methamphetamine, a Schedule II
       controlled substance.
       ...
       If you find unanimously and beyond a reasonable doubt:

       The first three elements set forth above; and

       Fourth, you find that the agreement or understanding involved 50 grams or more of
       a mixture or substance containing methamphetamine, a Schedule II controlled
       substance, then you must find the defendant guilty of the crime of conspiracy to
       distribute 50 grams or more of a mixture or substance containing methamphetamine,
       a Schedule II controlled substance. Record your determination on the verdict.

ECF No. 78, Pgs. 340-41 and 343-44. Miller’s trial counsel made no objection to the Instructions

given by the Trial Court. ECF No. 78, Pg. 335 (trial counsel stated: “On behalf of Rebecca Miller,

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we have no objections to the charge.”). The Government likewise had no objection to inclusion of

the lesser included offense instruction. ECF No. 78, Pg. 334.

       A court may properly give a lesser included offense instruction if:

       all of these elements are present: (1) a proper request is made; (2) the elements of the
       lesser offense are identical to part of the elements of the greater offense; (3) there is
       some evidence which would justify conviction of the lesser offense; (4) the proof on
       the element or elements differentiating the two crimes is sufficiently in dispute so that
       the jury may consistently find the defendant innocent of the greater and guilty of the
       lesser included offense; and (5) there is mutuality, i.e., a charge may be demanded by
       either the prosecution or the defense.

United States v. Jangula, 735 F.3d 1054, 1056 (8th Cir. 2013). All of these elements were present

in Miller’s case.

       There do not appear to be any cases directly discussing the issue presented by Miller here,

namely, whether trial counsel may be found ineffective for requesting a lesser included offense

instruction, because of an alleged constructive amendment in the indictment such instruction would

cause. There are many cases discussing a defendant’s right to such an instruction in certain

circumstances, however. In discussing the theory of a lesser included offense instruction, the United

States Supreme Court stated the following:

       Moreover, it is no answer to petitioner's demand for a jury instruction on a lesser
       offense to argue that a defendant may be better off without such an instruction. True,
       if the prosecution has not established beyond a reasonable doubt every element of the
       offense charged, and if no lesser offense instruction is offered, the jury must, as a
       theoretical matter, return a verdict of acquittal. But a defendant is entitled to a lesser
       offense instruction-in this context or any other-precisely because he should not be
       exposed to the substantial risk that the jury's practice will diverge from theory. Where
       one of the elements of the offense charged remains in doubt, but the defendant is
       plainly guilty of some offense, the jury is likely to resolve its doubts in favor of
       conviction.

Beck v. Alabama, 447 U.S. 625, 634 (1980) (capital murder trial where defendant requested and was

refused a lesser included offense instruction) (emphasis added). The above passage from Beck

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essentially says a defendant should not be put to the risk of conviction on a more severe charge if a

lesser included crime is available for the jury to consider.

          I have reviewed the trial record in this case. There was clearly evidence the jury could use

to find Miller had joined a conspiracy. In fact, the only element in the proof produced at trial which

was arguably different than the elements of the crime charged was the amount of methamphetamine

involved in the conspiracy. There was some dispute, which continued through sentencing, on direct

appeal, and then at re-sentencing as to the amount of methamphetamine she had conspired to

distribute.

          Counsel’s request of a lesser included offense subjected Miller, to a less severe statutory

range of punishment, it did not prejudice her. Count One’s range of punishment was not less than

ten years nor more than life imprisonment. The lesser included offense range of punishment was not

less than five years nor more than forty years imprisonment. To have failed to request a lesser

included offense instruction or to have objected to such instruction, in light of the facts before the

jury, may well have amounted to ineffective assistance of counsel. As the Court in Beck noted, the

jury may very well have resolved any doubt in favor of conviction on the greater charge. The

decision of trial counsel to seek a lesser included offense instruction and not object to that

instruction, was sound trial strategy and should not be second guessed now. This claim should be

denied.

          b. Constructive Amendment of Indictment: Within her claim of ineffective assistance of

counsel, Miller also claims the Court’s lesser included offense instruction to the jury “constructively

amending the indictment, that in which denied her Fifth and Sixth Amendments rights (1) to be tried

only on the charges presented to and accepted by a grand jury; and (2) a right to fair trial.” ECF No.



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125 Pg. 17. She claims this “constructive amendment” created a fatal variance between the

Indictment allegations and the evidence presented at trial as to the amount of methamphetamine

involved in the conspiracy. She argues she was convicted of a crime not charged in the Indictment

and this created a “fatal variance” between the Indictment and the proof at trial. On review there was

no constructive amendment and this claim should be denied.

        An indictment can be constructively amended when “the essential elements of the offense set

forth in the indictment are altered, either actually or in effect, by the prosecutor or the court after the

grand jury has passed upon them.”           United States v. Gavin, 583 F.3d 542, 546 (8th Cir.

2009)(citations omitted). “A constructive amendment primarily affects the defendant's Fifth

Amendment right to indictment by a grand jury....” United States v. Renner, 648 F.3d 680, 685 (8th

Cir.2011) (quoting United States v. Adams, 604 F.3d 596, 599 (8th Cir.2010)). “ A constructive

amendment of an indictment occurs when jury instructions broaden the scope of an indictment by

permitting a conviction for an uncharged offense.” United States v. Spencer, 592 F.3d 866, 873 (8th

Cir. 2010).

        “In reviewing an appeal based on a claim of constructive amendment, we consider whether

. . . the jury instructions created a ‘substantial likelihood’ that the defendant was convicted of an

uncharged offense.” United States v. Whirlwind Soldier, 499 F.3d 862, 870 (8th Cir.2007).(quoting

United States v. Novak, 217 F.3d 566, 575 (8th Cir.2000)). To determine whether an amendment or

variance is “fatal” the court must determine if the Indictment “fully and fairly” apprises the defendant

of the charges against her. See Whirlwind Soldier, 499 F.3d at 871. “In reviewing an appeal based

on a claim of constructive amendment, we consider whether ... the jury instructions created a

‘substantial likelihood’ that the defendant was convicted of an uncharged offense.” United States



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v. Novak, 217 F.3d 566, 575 (8th Cir.2000).

       Here the jury instruction for a lesser included offense in Count One did not result in a

constructive amendment or variance which was prejudicial to Miller. The Trial Court properly gave

the instruction on a lesser included offense. See United States v. Jangula, 735 F.3d at 1056. The

elements of the lesser offense were identical to part of the elements of the greater offense. There was

some evidence Miller was responsible for less than 500 grams of methamphetamine, which would

justify conviction of the lesser offense. The proof on the amount of methamphetamine at issue was

sufficiently in dispute so that the jury could have, and in fact in this case did, find Miller innocent

of the greater and guilty of the lesser included offense. There was no likelihood of Miller being

convicted of an uncharged offense because of the lesser included offense instruction given in this

case. This claim should be denied.

       c. Alleyne v. United States: Miller next alleges the Trial Court’s lesser included offense

instruction amounted to a violation of Alleyne v. United States, ___ U.S. ___, 133 S.Ct. 2151 (2013).

As set out below, this claim should be denied.

        Alleyne was a direct appeal of a criminal conviction. In Alleyne, the defendant was convicted

of robbery affecting commerce and use of firearm during and in relation to crime of violence.

Following a conviction by a jury, the defendant was sentenced to 130 months imprisonment. The

jury indicated on the verdict form the defendant had “[u]sed or carried a firearm during and in

relation to a crime of violence” but did not indicate a finding the firearm was “[b]randished.”

Alleyne, 133 S. Ct. at 2156. The pre-sentence report recommended a seven year sentence reflecting

the mandatory minimum sentence for cases in which a firearm has been “brandished,” rather than

a five year mandatory minimum sentence for “using or carrying” a firearm. See id. at 2156. The



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district court overruled the defendant’s objection to this and explained that “brandishing” was a

sentencing factor it could find by a preponderance of the evidence. Defendant was then sentenced

to seven years on that count. See id.

         The sentence as affirmed by the Fourth Circuit. United States v. Alleyne, 457 Fed. Appx. 348

(4th Cir. 2011). On appeal from the Fourth Circuit, the Supreme Court stated “The touchstone for

determining whether a fact must be found by a jury beyond a reasonable doubt is whether the fact

constitutes an ‘element’ or ‘ingredient’ of the charged offense.” Alleyne, 133 S. Ct. at 2158. The

Court further stated “[f]acts that increase the mandatory minimum sentence are therefore elements

and must be submitted to the jury and found beyond a reasonable doubt.” Id.(emphasis added).

Alleyne specifically overruled Harris v. United States, 536 U.S. 545 (2002), holding:

         Because the finding of brandishing increased the penalty to which the defendant was
         subjected, it was an element, which had to be found by the jury beyond a reasonable
         doubt. The judge, rather than the jury, found brandishing, thus violating petitioner's
         Sixth Amendment rights.

Alleyne,133 S. Ct. at 2163-64 (emphasis added). Alleyne essentially applies the rule of Apprendi v.

New Jersey, 530 U.S. 466, 490 (2000). Now the law is clear, based on Alleyne and Apprendi, any

fact that increases the statutory range of punishment must be proven to a jury beyond a reasonable

doubt.

         Further, the decision in Alleyne is a new rule of constitutional law, overruling a prior decision

of the Supreme Court. Generally, new constitutional rules are not applied retroactively to cases on

collateral review, such as this one. See Teague v. Lane, 489 U.S. 288, 303 (1989). There are two

exceptions to the Teague retroactivity rule. First, a new rule which places certain kinds of individual

conduct beyond the power of the criminal law-making authority to proscribe or otherwise prohibits

imposition of a certain type of punishment for a class of defendants because of their status or offense

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will be applied retroactively on collateral review. See Caspari v. Bohlen, 510 U.S. 383, 396 (1994)

Second, a new rule which announces a new “watershed” rule of criminal procedure implicating the

fundamental fairness and accuracy of the criminal proceeding will be applied retroactively. See id.

       Alleyne does not fall within either of foregoing exceptions. Therefore, it cannot be applied

retroactively unless it is specifically made retroactive to collateral proceedings, such as § 2255

proceedings, by the Supreme Court. See Dodd v. United States, 545 U.S. 353, 359 (2005). The

Supreme Court has not applied Alleyne retroactively. The United States Court of Appeals for the

Eighth Circuit has discussed Alleyne on several occasions, but has not found it should be

retroactively applicable. See e.g. United States v. Lara-Ruiz, 721 F.3d 554, 557 (8th Cir. 2013)( fact

increasing either end of the [sentencing] range produces a new penalty and constitutes an ingredient

of the offense.); United States v. Abrahamson, 731 F.3d 751 (8th Cir. 2013)(increased statutory

minimum as result of prior drug conviction not required to be submitted to the jury). The Eighth

Circuit has discussed the retroactive effect of Apprendi and determined the rule announced there

would not be retroactively applied by the Supreme Court. See United States v. Moss, 252 F.3d 993,

999-1000 (8th Cir. 2001).

       At least one Court of Appeals has discussed the issue of retroactive application of Alleyne,

and determined the Supreme Court is not likely to apply this new rule retroactively. The Seventh

Circuit has held recently:

        Alleyne is an extension of Apprendi v. New Jersey, 530 U.S. 466 (2000). The
        Justices have decided that other rules based on Apprendi do not apply retroactively
        on collateral review. This implies that the Court will not declare Alleyne to be
        retroactive. But the decision is the Supreme Court’s, not ours, to make. Unless the
        Justices themselves decide that Alleyne applies retroactively on collateral review, we
        cannot authorize a successive collateral attack based on § 2255(h)(2) . . . .

Simpson v. United States, 721 F.3d 875, 876 (7th Cir.2013)(citations omitted).

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       Here there is no Alleyne violation for several reasons. First, the jury, not the Trial Court,

made the finding of which drug amount was applicable for statutory sentencing purposes. Second,

the decision made by the Trial Court worked to decrease rather than increase the statutory sentencing

range faced by Miller. The instruction worked to her benefit not her detriment. Lastly, Alleyne

should not be applied retroactively to the claims here on collateral review. Miller’s claim based on

Alleyne should be denied.

       d. Two-level Increase for Maintaining a Drug Premises: Miller claims the trial court

erred in assessing a two-level increase to her total offense level under the USSG for her maintenance

of a drug premises. She claims she was not charged with violating 18 U.S.C. § 856, and thus this

enhancement is not applicable under the sentencing guidelines. Both Miller and her co-defendant

Daniel Miller, raised this issue on direct appeal. The Eighth Circuit has previously held as follows:

       Mrs. Miller argues that she did not maintain the home “for the purpose of”
       distributing controlled substances. . . . Focusing on the frequency-of-use factor and
       her minimal role in her husband's criminal enterprise, Mrs. Miller argues that her
       primary use of the premises was as a family home, where she resided with her
       husband and raised eleven children, their own and children of Mr. Miller's sisters. .
       . . Here, there was direct evidence Mrs. Miller used the premises for the purpose of
       actively participating in at least three controlled buys on the property, and she
       admitted accepting payments that she knew were for methamphetamine purchases on
       other occasions. In two of the controlled buys, Mrs. Miller's teenage son helped
       deliver the methamphetamine to purchaser Dorsey. These drug distribution activities
       were more than an “incidental or collateral” use of the premises by Mrs. Miller. . . .
       Thus, the district court did not clearly err in finding that Mrs. Miller's use of the
       premises for the distribution of methamphetamine warranted a two-level increase
       under § 2D1.1(b)(12).

Miller, 698 F.3d at 706-07(emphasis added). The Eighth Circuit has rejected this claim on direct

appeal and it should be denied here.

       e. Section 3553 Factors: Lastly Miller claims the Trial Court imposed a sentence greater

than necessary, in violation of 18 U.S.C. 3553, primarily by imposing a two-level enhancement of

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maintaining a drug premises. The parties at her re-sentencing hearing stipulated to a reasonable

sentence.

          MR. QUINN: ... Your Honor, the defendant and the government have agreed and
          stipulated to a base offense level of 30, based on the amount of drugs in the three
          controlled buys that she was charged in. Additionally, we’ve agree to stipulate the
          two level increase for maintaining a drug premises, which is a final offense level of
          32, criminal history category I with a guideline range of 121-151 months. As the
          court stated, we’ve agreed and stipulated that a 120 month sentence is fair.

          THE COURT: I think that’s fair.

          MR. QUINN: Thank you, Judge.

          MS. BUNN: That is our agreement, Your Honor.

ECF No. 110, Pg. 4-5. Further, the Defendant herself, agreed to the stipulated sentence. ECF

No.110, Pg. 6.

          Here Miller makes no specific allegations of which of the factors of §3553 were wrongly

applied. Her only complaint is the two-level increase in her total offense level under the USSG

guidelines resulted in a sentence that was some how unfair and unnecessary. This issue has been

resolved in favor of the sentence imposed by the Eighth Circuit. Following her re-sentencing, Miller

again appealed to the Eighth Circuit. On this second direct appeal the Court held:

          After careful review, we affirm the sentence, because the district court complied with
          our decision, and imposed a sentence that was stipulated to by both parties and that
          is not unreasonable. Further, we have reviewed the record independently under and
          we find no non-frivolous issues for appeal. Accordingly, we grant counsel's motion
          to withdraw, and we affirm.

United States v. Miller, 530 F. App'x 613 (8th Cir. 2013) (emphasis added). This claim should be

denied.

          Based on my review of the record in this case, I also conclude an evidentiary hearing is not




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required in this matter. The record conclusively shows Miller is not entitled to the relief she seeks.3

IV. Recommendation:

       Accordingly, based on the foregoing, it is recommended the instant Motion be denied and

dismissed. Further, pursuant to 28 U.S.C. §1915(a), I recommend the finding that an appeal from

dismissal would not be taken in good faith.

       The parties have fourteen (14) days from receipt of our report and recommendation in

which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

objections may result in waiver of the right to appeal questions of fact. The parties are

reminded that objections must be both timely and specific to trigger de novo review by the

district court.

       DATED this 28th day of April 2013.


                                                   /s/ Barry A. Bryant
                                                  HON. BARRY A. BRYANT
                                                  U.S. MAGISTRATE JUDGE




              3
                See Buster v. United States, 447 F.3d 1130, 1132 (8th Cir.2006) (holding that a § 2255 motion
      can be dismissed without a hearing if (1) the petitioner's allegations, accepted as true, would not entitle
      the petitioner to relief, or (2) the allegations cannot be accepted as true because they are contradicted by
      the record, inherently incredible, or conclusions rather than statements of fact).

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